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           16                      UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           19      CERCACOR LABORATORIES, INC.,                  APPLE’S TRIAL MEMORANDUM
                   a Delaware corporation,                       REGARDING THE COURT’S APRIL
           20                                                    17, 2023 DRAFT VERDICT FORM
                                      Plaintiffs,
           21
                         v.
           22
                   APPLE INC.,
           23      a California corporation,
           24                         Defendant.
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                    APPLE’S TRIAL MEMORANDUM REGARDING THE COURT’S DRAFT VERDICT FORM
Wilmer Cutler
                                                                      CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
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                    APPLE’S TRIAL MEMORANDUM REGARDING THE COURT’S DRAFT VERDICT FORM
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             1              Apple submits the following comments and objections to the draft Special Verdict
             2     Form the Court emailed the parties on April 17, 2023. See Appx. A (the “Draft Verdict
             3     Form”). Apple understands that the Court’s circulation of the Draft Verdict Form is a
             4     definitive rejection of Apple’s proposed verdict form submitted on March 28, 2023, and
             5     Apple respectfully restates its objections to Plaintiffs’ proposed verdict form, to the
             6     extent those objections apply to the Draft Verdict Form. See Dkt. 1498 at 50-55.1
             7              Apple respectfully submits an alternative version of the Draft Verdict Form for
             8     the Court’s consideration. See Appx. B (“Apple’s Alternative Verdict Form”). Apple
             9     explains its proposed revisions to the Draft Verdict Form below.
           10      I.       THE DRAFT VERDICT FORM DOES NOT ACCURATELY REFLECT THE LAW
           11            REGARDING APPLE’S STATUTE OF LIMITATIONS DEFENSE
           12               Apple has two objections to the Draft Verdict Form’s presentation of Apple’s
           13      statute of limitations defense.
           14               A. Burden. The Draft Verdict Form incorrectly suggests that Apple—and Apple
           15      alone—bears the burden of proving that Plaintiffs’ claim is barred by the statute of
           16      limitations. It is undisputed that Apple only bears the initial burden to show that
           17      purported misappropriation began before January 9, 2017. See Dkt. 1500-1 at 210, 214
           18      (the parties’ proposed jury instructions). The burden then shifts to Plaintiffs to prove
           19      that they neither discovered nor with reasonable diligence should have discovered facts
           20      that would have caused a reasonable person to suspect that Apple had misappropriated
           21      at least one of Masimo or Cercacor’s alleged trade secrets. Id.; see also, e.g., Gabriel
           22      Techs. Corp. v. Qualcomm Inc., 857 F. Supp. 2d 997, 1003 (S.D. Cal. 2012) (“Since it
           23      is undisputed that the alleged misappropriation of trade secrets took place outside the
           24
           25      1
                    The draft does not reflect many of Apple’s proposals, including that the jury be required
           26      to find that Plaintiffs have satisfied each element of their trade secret misappropriation
                   claim for each of the purported trade secrets asserted and that the jury be required to
           27      provide a breakdown of any damages award. See Dkt. 1498 at 15-41 (“Apple’s Proposed
                   Verdict Form”).
           28
                       APPLE’S TRIAL MEMORANDUM REGARDING THE COURT’S DRAFT VERDICT FORM
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             1     limitations period, Plaintiffs ‘have the burden of proving the facts necessary to toll the
             2     statute.’”).
             3            At a minimum, then, Apple submits that the verdict form should ask the jury two
             4     separate questions regarding the statute of limitations: (1) Whether Apple has
             5     established that the purported misappropriation occurred prior to January 9, 2017, and
             6     (2) whether Plaintiffs have established that they did not and should not have reasonably
             7     discovered the misappropriation before January 9, 2017. However, Apple’s Proposed
             8     Verdict Form suggests simplifying the question further by inquiring only about
             9     Plaintiffs’ burden because, as in Gabriel, there is no genuine factual dispute that the first
           10      alleged misappropriation occurred more than three years before this action was filed.
           11      Cf. Cadence Design Sys., Inc. v. Avant! Corp., 29 Cal. 4th 215, 223 (2002) (holding that
           12      a misappropriation “claim … arises for a given plaintiff against a given defendant only
           13      once, at the time of the initial misappropriation”). With respect to the alleged business
           14      strategies secrets, for example, Plaintiffs have argued that Dr. O’Reilly began using the
           15      B secrets in October 2013. See 4/11/23 PM Tr. 23-24 (testimony of Dr. Palmatier); see
           16      also, e.g., PDX3-28 (Palmatier demonstrative depicting Dr. O’Reilly’s FDA
           17      communications from JTX-535). And as to the technical trade secrets, Plaintiffs have
           18      argued that those purported trade secrets were brought to Apple by Dr. Marcelo Lamego
           19      alone. See, e.g., PDX1-50 (opening statement demonstrative); 4/12/23 AM Tr. 84-87
           20      (direct testimony of Dr. Madisetti). Dr. Lamego’s six-month period of employment with
           21      Apple ended in the summer of 2014. See 4/14/23 AM Tr. 70:18-20. Apple will therefore
           22      move under Rule 50(a) for a ruling that the first step of the statute of limitations analysis
           23      should not go to the jury.
           24             B. Relatedness. The Draft Verdict Form incorrectly requires the jury to decide
           25      whether each purported trade secret that Plaintiffs have included as part of their single
           26      misappropriation claim was asserted too late. However, when a plaintiff brings a
           27      CUTSA claim alleging misappropriation of multiple trade secrets, the statute of
           28
                    APPLE’S TRIAL MEMORANDUM REGARDING THE COURT’S DRAFT VERDICT FORM
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             1     limitations begins to run for all trade secrets as soon as a plaintiff discovers or has reason
             2     to discover that the defendant misappropriated a single one—“at least” where (as here)
             3     the alleged trade secrets “concern related matters.” MedioStream, Inc. v. Microsoft
             4     Corp., 869 F. Supp. 2d 1095, 1110 (N.D. Cal. 2012) (collecting cases); see also Dkt.
             5     1500-1 at 215-216 (Apple’s commentary explaining its proposed statute of limitation
             6     jury instruction).
             7           For the first time on March 28, 2023, Plaintiffs argued in three separate filings
             8     that the MedioStream principle should not apply to their claim. See Dkt. 1492-1 at 4-5
             9     (trial brief); Dkt. 1496-2 at 9-10 (briefing on verdict form); Dkt. 1500-1 at 212-213
           10      (briefing on proposed statute of limitations instruction). Apple has not previously had a
           11      chance to respond to this argument because Plaintiffs improperly raised it during the
           12      parties’ final exchange of jury instruction and verdict form instructions (as well as in
           13      their Trial Brief—i.e., their reply to Apple’s Memorandum of Contentions of Fact and
           14      Law). On the merits, each of Plaintiffs’ arguments is unavailing.
           15            First, Plaintiffs have argued that at least some of the purported trade secrets are
           16      so unrelated that the fact that Plaintiffs should have discovered one instance of
           17      misappropriation does not necessarily mean they should have discovered all of them.
           18      E.g., Dkt. 1492-1 at 5. But trade secrets are sufficiently related when they “concern
           19      similar technology developed for use in similar products”—here, a wearable device that
           20      measures physiological parameters. See MedioStream, 869 F. Supp. 2d at 1110; accord
           21      Forcier v. Microsoft Corp., 123 F. Supp. 2d 520, 526 (N.D. Cal. 2000). And Plaintiffs
           22      and their experts have repeatedly asserted that the alleged secrets are so interchangeable
           23      as to entitle Plaintiffs to over a billion dollars in unjust enrichment (i.e., the purported
           24      profits from the Blood Oxygen feature) so long as the jury finds that Apple
           25      misappropriated “one or more” of them. See Kinrich Report ¶ 164 (Oct. 17, 2022)
           26      (emphasis added); see also Dkt. 1186 at 21 (Plaintiffs’ Opp’n to Apple’s Daubert motion
           27      against Kinrich). As another example, Plaintiffs have asserted that L4 and L5 are “not
           28
                    APPLE’S TRIAL MEMORANDUM REGARDING THE COURT’S DRAFT VERDICT FORM
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             1     related,” this is contradicted by the testimony of their own technical expert. See, e.g.,
             2     4/12/23 PM Tr. 10:21-12:1, 31:8-22 (Dr. Madisetti’s testimony that both L4 and L5
             3     concern controlling “crosstalk”).
             4            Second, Plaintiffs have argued that even if they were aware of Dr. Lamego’s
             5     purported misappropriation, that should not put them on notice of Dr. O’Reilly’s
             6     purported misappropriation (and vice versa). Dkt. 1492-1 at 5. But where, as here, a
             7     trade secret plaintiff alleges that a competitor “hired … ‘key employees’ in order to
             8     access ‘confidential information’ regarding its ‘products’ and ‘technology,’” the
             9     plaintiff is on notice to file suit regarding all related, alleged trade secrets once it learned
           10      of the first alleged misappropriation through one of these former employees.
           11      Mediostream, 869 F. Supp. 2d at 1110; see also Intermedics, Inc. v. Ventritex, Inc., 822
           12      F. Supp. 634, 658 (N.D. Cal. 1993) (when a competitor received the alleged trade secrets
           13      through the same two ex-employees, “it was incumbent on [the plaintiff] to file suit …
           14      as to all the related trade secrets it had shared with [the ex-employees]” as soon as the
           15      plaintiff discovered the first misappropriation). Plaintiffs’ only contrary authority,
           16      Mattel, Inc. v. MGA Ent., Inc., is inapposite. 782 F. Supp. 2d 911, 1003 (C.D. Cal.
           17      2011). Not only did Mattel cite no authority, but it did not involve the situation here,
           18      where Plaintiffs allege that Apple was engaged in a coordinated scheme to recruit Drs.
           19      Lamego and O’Reilly.
           20             Third, Plaintiffs have argued that they were not required to bring suit on any
           21      specific trade secret until a reasonable investigation would have revealed Apple’s
           22      purported misappropriation. Dkt. 1492-1 at 5. But Plaintiffs do not cite any authority
           23      that has adopted this approach. To the contrary, other courts have expressly rejected
           24      Plaintiffs’ position, holding that “a trade secret plaintiff must file suit “as to all the
           25      related trade secrets that it had shared with [ex-employees]” within the statute of
           26      limitations period, “even if there was no specific evidence with respect to some of the
           27      trade secrets that, at that time, defendants had in fact misappropriated them.”
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                    APPLE’S TRIAL MEMORANDUM REGARDING THE COURT’S DRAFT VERDICT FORM
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             1     Intermedics, 822 F. Supp. at 658; see also Dkt. 606 at 5 (this Court holding that statute
             2     of limitations period began to run as soon as “Plaintiffs discovered or had reason to
             3     discover that a trade secret” (as opposed to every claimed trade secret) “had been
             4     misappropriated” (emphasis added)).
             5           Apple accordingly requests that the final verdict form present only a single statute
             6     of limitations question for the trade secret misappropriation claim as a whole, as was
             7     suggested in in Apple’s original proposed verdict form. See Dkt. 1498 at 41. At a
             8     minimum, Apple respectfully submits that the statute of limitations question should be
             9     grouped by alleged trade secret category, as illustrated in Apple’s Alternative Verdict
           10      Form. See Appx. B at 4.
           11      II.   THE DRAFT VERDICT FORM LISTS THE QUESTIONS IN THE WRONG ORDER
           12            Apple also objects to the order of the questions in the Draft Verdict Form. Apple’s
           13      Alternative Proposed Verdict Form has therefore reordered the questions in two ways.
           14            First, Apple proposes reordering the statute of limitations and damages questions
           15      to list the former first. As Apple explained in its objections to Plaintiffs’ proposed
           16      verdict form, (1) asking the jury to determine whether there was willful and malicious
           17      misappropriation before the measure of compensatory damages and (2) asking both
           18      damages questions before inquiring about the statute of limitations creates a serious risk
           19      of a legally erroneous and excessive verdict. See Dkt. 1498 at 50-51. Therefore, Apple
           20      requests that the Court reorder the Draft Verdict Form so the jury is asked first about
           21      misappropriation, next about statute of limitations, then about damages, and only then
           22      about willfulness and maliciousness.
           23            Second, Apple proposes placing the inventorship questions before the ownership
           24      questions. Since Plaintiffs’ ownership claims depend in significant part on the outcome
           25      of the inventorship claims, asking the jury to decide inventorship first will assist the
           26      deliberation process and reduce the risk of an erroneous verdict.
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             1     III.   OTHER ISSUES WITH THE DRAFT VERDICT FORM
             2            Apple respectfully requests that the Court make several other miscellaneous
             3     revisions to the Draft Verdict Form.
             4            First, Apple requests that the Court use the term “Alleged Trade Secrets,” as this
             5     accurately reflects the legal status of Plaintiffs’ purported trade secrets. To call them
             6     “Asserted Trade Secrets” presupposes that they are, in fact, trade secrets, a question the
             7     jury is charged to answer. Indeed, this Court has already used the term “Alleged Trade
             8     Secrets” in instructing the jury about the status of Plaintiffs’ purported trade secrets. See
             9     4/13/23 AM Tr. 20:11-21:7 (curative instruction regarding the legal significance of
           10      Plaintiffs’ “alleged trade secrets” and the role of Plaintiffs’ counsel in their drafting). In
           11      addition, Apple believes that the qualification “Alleged” should appear before every
           12      reference to Plaintiffs’ purported trade secrets in order to avoid jury confusion. Apple
           13      noted that the Draft Verdict Form had some inconsistencies in this respect, and Apple’s
           14      Alternative Proposed Verdict Form adds “Alleged” in all places where a qualifying term
           15      is appropriate.
           16             Second, Apple requests that the wording of the unjust enrichment question be
           17      slightly revised to incorporate the CUTSA’s causation requirement. See Cal. Civ. Code
           18      § 3426.3(a) (“A complainant also may recover for the unjust enrichment caused by
           19      misappropriation[.]”).    Specifically, Apple asks the Court change the phrase “unjust
           20      enrichment from that trade secret misappropriation” to mirror the statute—i.e., “unjust
           21      enrichment caused by that trade secret misappropriation.” Compare Ex. 1 at 4:2-3 to
           22      Appx. B at 4:20.
           23             Third, Apple requests that the Court use the term “Plaintiffs” or the phrase
           24      “Masimo and Cercacor” instead of the collective, defined term “Masimo.” In particular,
           25      Apple objects to the use of the collective, defined term “Masimo” in the chart
           26      corresponding to the ownership claims. If Plaintiffs prevail on any of their ownership
           27      claims, they would need to register the ownership interest of either Masimo Corp. or
           28
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             1     Cercacor Laboratories, Inc. or both with the U.S. Patent and Trademark Office, pursuant
             2     to 35 U.S.C. § 261, and would need to present a judgment from this Court as
             3     documentary evidence of ownership, see, e.g., 37 CFR 3.73(c). This process could
             4     become confused unless the jury determines whether Masimo, Cercacor, or both are
             5     entitled to an ownership interest in any particular patent.
             6                                         CONCLUSION
             7           Apple respectfully requests that this Court amend the draft verdict form as
             8     discussed above.
             9
           10      Dated: April 18, 2023                   Respectfully submitted,
           11
           12                                              JOSEPH J. MUELLER
           13                                              MARK D. SELWYN
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           24                                              By: /s/ Mark D. Selwyn
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                                                           Attorneys for Defendant Apple Inc.
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             1                              CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3      brief contains 2,080 words, which:
             4            X complies with the word limit of L.R. 11-6.1
             5               complies with the word limit set by court order dated [date].
             6
             7      Dated: April 18, 2023                 Respectfully submitted,

             8
             9                                            MARK D. SELWYN
                                                          AMY K. WIGMORE
           10                                             JOSHUA H. LERNER
           11                                             SARAH R. FRAZIER
                                                          NORA Q.E. PASSAMANECK
           12                                             THOMAS G. SPRANKLING
           13                                             WILMER CUTLER PICKERING HALE AND
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           20                                             By: /s/ Mark D. Selwyn
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                                                          Attorneys for Defendant Apple Inc.
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